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                              UNITED STATES DISTRICT COURT

                             WESTERN DISTRICT OF LOUISIANA

                                       MONROE DIVISION

 SARAH MARIE SHARP ALFORD, ET AL.                       CIV. ACTION NO. 3:21-00580

 VERSUS                                                 JUDGE TERRY A. DOUGHTY

 JEFFERY DYKE, ET AL.                                   MAG. JUDGE KAYLA D. MCCLUSKY



                                        JUDGMENT

        The Report and Recommendation of the Magistrate Judge having been considered,

 together with the written objections thereto filed with this Court, and, after a de novo review of

 the record, finding that the Magistrate Judge's Report and Recommendation is correct,

        IT IS ORDERED that the motion to remand [doc. # 11] filed by Plaintiffs Sarah Marie

 Sharp Alford, et al., is hereby GRANTED, and that the above-captioned cause be, and it is

 hereby remanded to the Third Judicial District Court for the Parish of Union, State of Louisiana.

 28 U.S.C. § 1447(c).

        IT IS FURTHER ORDERED that plaintiffs= request for costs, fees, and/or expenses is

 DENIED.

        IT IS FURTHER ORDERED that the motion to dismiss [doc. # 3] filed by Defendant,

 State of Louisiana, through the Department of Transportation and Development, is DENIED.

        MONROE, LOUISIANA, this 25th day of May 2021.




                                                       ____________________________________
                                                       TERRY A. DOUGHTY
                                                       UNITED STATES DISTRICT JUDGE
